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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 PEDRO MARTINEZ, Individually and as the
 representative of a class of similarly situated persons,
                                                                  Case No. 1:21-cv-4328-EK-MMH
                                          Plaintiff,
                           - against -

 CENTO FINE FOODS, INC.,                                              NOTICE OF SETTLEMENT
                                            Defendant.
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                 Now comes the Plaintiff, Pedro Martinez, by and through counsel, to provide

notice to the Court that the present cause has been settled between the parties, and states:

                 1. The parties have reached an agreement and a settlement agreement

(“Agreement”) is in the process of being finalized. Once the Agreement is fully executed, and

the terms have been fulfilled, Plaintiff will submit a Stipulation of Voluntary Dismissal with

prejudice and without costs pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii).

                 2. The parties respectfully request that the Court stay this case and adjourn all

deadlines and conferences and cancel the mediation.

                 3. We respectfully request the Court provide that the parties may seek to reopen

the matter for forty-five (45) days to assure that the Agreement is executed and that the terms

have been fulfilled.

Dated: Scarsdale, New York
       October 22, 2021
                                                       SHAKED LAW GOUP, P.C.
                                                       Attorneys for Plaintiff

                                                    By: /s/Dan Shaked_______________
                                                      Dan Shaked, Esq.
                                                      14 Harwood Court, Suite 415
                                                      Scarsdale, NY 10583
                                                      Tel. (917) 373-9128
                                                      e-mail: ShakedLawGroup@Gmail.com
